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                                                 State of New Jersey
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   Lt. Governor                                              PO Box 112                                                 Director
                                                     TRENTON, NJ 08625-0112


                                                       March 5, 2019

       The Honorable Anne E. Thompson
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State Street
       Trenton, NJ 08608

                  Re:   Defense Distributed, et al. v. Gurbir Grewal
                        Civ. No. 19-cv-4753

       Dear Judge Thompson:

                In light of this Court’s decision to hold a status conference in this case on March 7, 2019,
       Defendant New Jersey Attorney General Gurbir Grewal respectfully requests that this Court grant
       a short extension of time for Defendant to submit its opposition to Plaintiffs’ motion for a
       preliminary injunction. The State’s response is currently due on March 6, 2019. The State requests
       an extension of time to file its opposition to the motion for a preliminary injunction until either
       March 8, 2019, or until such time as ordered by the Court at the status conference. This short-term
       relief is necessary to preserve the status quo while this Court considers whether it is appropriate
       for Plaintiffs to be litigating their claims in two separate judicial forums at the same time.

                                                            Respectfully submitted,

                                                            GURBIR S. GREWAL
                                                            ATTORNEY GENERAL OF NEW JERSEY

                                                            By: /s Glenn J. Moramarco
                                                               Glenn J. Moramarco
                                                               Assistant Attorney General




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